Case 23-12825-MBK                 Doc 377      Filed 05/01/23 Entered 05/01/23 16:36:40                      Desc Main
                                              Document     Page 1 of 5



     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     WOLLMUTH MAHER & DEUTSCH LLP
     Paul R. DeFilippo, Esq.
     500 Fifth Avenue
     New York, New York 10110
     Telephone: (212) 382-3300
     Facsimile: (212) 382-0050
     pdefilippo@wmd-law.com

     JONES DAY
     Gregory M. Gordon, Esq.
     Brad B. Erens, Esq.
     Dan B. Prieto, Esq.
     Amanda Rush, Esq.
     2727 N. Harwood Street
     Dallas, Texas 75201
     Telephone: (214) 220-3939
     Facsimile: (214) 969-5100
     gmgordon@jonesday.com
     bberens@jonesday.com
     dbprieto@jonesday.com
     asrush@jonesday.com
     (Admitted pro hac vice)
     PROPOSED ATTORNEYS FOR DEBTOR
     In re:                                                          Chapter 11

     LTL MANAGEMENT LLC,1                                            Case No.: 23-12825 (MBK)

                                 Debtor.                             Judge: Michael B. Kaplan


                             NOTICE OF AGENDA OF MATTERS
                     SCHEDULED FOR HEARING ON MAY 3, 2023 AT 10:00 A.M.


                             Parties are directed to https://www.njb.uscourts.gov/LTL
                           for appearing via Zoom or in-person, or observing via Zoom




 1
              The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
              501 George Street, New Brunswick, New Jersey 08933.


 NAI-1536716052
Case 23-12825-MBK          Doc 377    Filed 05/01/23 Entered 05/01/23 16:36:40           Desc Main
                                     Document     Page 2 of 5



 MATTER NOT GOING FORWARD

 1.      Debtor’s Motion for an Order (I) Appointing Co-Mediators, (II) Establishing Mediation
         Procedures and (III) Granting Related Relief [Dkt. 107].

         Status: On April 25, 2023, the Debtor filed a Status Change Form withdrawing the
         motion without prejudice as moot [Dkt. 303].

 CONFERENCES GOING FORWARD:

 2.      Order Granting in Part and Denying in Part the Motion by Movant Anthony Hernandez
         Valadez for an Order (I) Granting Relief From the Automatic Stay, Second Amended Ex
         Parte Temporary Restraining Order, and Anticipated Preliminary Injunction, and
         (II) Waiving the Fourteen Day Stay Under Federal Rule of Bankruptcy Procedure
         4001(a)(3) [Dkt. 298].

         Status: The Court heard argument on this matter at the April 18, 2023 hearing and
         continued the matter to May 3, 2023 for a conference on the status of pre-trial
         preparations.

 3.      Motions to Dismiss the Chapter 11 Case [Dkts. 286, 335, 346, 350, 352, 358].

         Status: The Court will conduct a scheduling conference to discuss the pending
         motions to dismiss.

 CONTESTED MATTERS GOING FORWARD:

 4.      Debtor’s Motion for an Order Appointing Randi S. Ellis as Legal Representative for
         Future Talc Claimants [Dkt. 87] (the “FCR Motion”).

         Status: This matter is going forward.

         Objection Deadline: April 26, 2023 pursuant to the Order Shortening Time Period for
         Notice, Setting Hearing and Limiting Notice [Dkt. 135].

         Related Documents:

         A.       Application for Order Shortening Time [Dkt. 88].

         B.       Order Shortening Time Period for Notice, Setting Hearing and Limiting Notice
                  [Dkt. 135].

         C.       Randi S. Ellis Declaration in Support of the FCR Motion [Dkt. 354].

         D.       Debtor’s Reply in Support of the FCR Motion [Dkt. 355] (the “Debtor’s Reply”).

         E.       Debtor’s Motion to Seal Exhibits to the Debtor’s Reply [Dkt. 356] (the “Debtor’s
                  Motion to Seal”).


                                                 -2-
 NAI-1536716052
Case 23-12825-MBK          Doc 377    Filed 05/01/23 Entered 05/01/23 16:36:40          Desc Main
                                     Document     Page 3 of 5



         Objections:

         F.       Official Committee of Talc Claimants’ Objection to the FCR Motion [Dkt. 311]
                  (the “Committee Objection”).

         G.       Paul Crouch Objection to the FCR Motion. [Dkt. 318].

         H.       Maune Raichle Hartley French & Mudd, LLC’s Objection to the FCR Motion
                  [Dkt. 320].

         I.       United States Trustee Objection to the FCR Motion [Dkt. 321] (the “U.S. Trustee
                  Objection”).

 UNCONTESTED MATTERS GOING FORWARD

 5.      The Official Committee of Talc Claimants’ Motion to Seal the Redacted Portions of the
         Committee Objection [Dkt. 312].

         Status: This matter is going forward.

         Objection Deadline: At hearing, pursuant to the Order Shortening Time Period for
         Notice, Setting Hearing and Limiting Notice [Dkt. 316].

         Related Documents:

         A.       The FCR Motion.

         B.       The Committee Objection.

         C.       Application for Order Shortening Time [Dkt. 315].

         D.       Order Shortening Time Period for Notice, Setting Hearing and Limiting Notice
                  [Dkt. 316].

 6.      The United States Trustee Motion to Seal the Redacted Portions and Exhibits to the U.S.
         Trustee Objection [Dkt. 322].

         Status: This matter is going forward.

         Objection Deadline: At hearing, pursuant to the Order Shortening Time Period for
         Notice, Setting Hearing and Limiting Notice [Dkt. 327].

         Related Documents:

         A.       The FCR Motion.

         B.       The U.S. Trustee Objection.

         C.       Application for Order Shortening Time [Dkt. 323].

                                                 -3-
 NAI-1536716052
Case 23-12825-MBK          Doc 377    Filed 05/01/23 Entered 05/01/23 16:36:40         Desc Main
                                     Document     Page 4 of 5



         D.       Order Shortening Time Period for Notice, Setting Hearing and Limiting Notice
                  [Dkt. 327].

 7.      The Debtor’s Motion to Seal Exhibits.

         Status: This matter is going forward.

         Objection Deadline: At hearing, pursuant to the Order Shortening Time Period for
         Notice, Setting Hearing and Limiting Notice [Dkt. 372].

         Related Documents:

         A.       The FCR Motion.

         B.       The Debtor’s Reply.

         C.       Application for Order Shortening Time [Dkt. 357].

         D.       Order Shortening Time Period for Notice, Setting Hearing and Limiting Notice
                  [Dkt. 372].




                                                 -4-
 NAI-1536716052
Case 23-12825-MBK      Doc 377    Filed 05/01/23 Entered 05/01/23 16:36:40        Desc Main
                                 Document     Page 5 of 5



  Dated: May 1, 2023                         WOLLMUTH MAHER & DEUTSCH LLP

                                             /s/ Paul R. DeFilippo
                                             Paul R. DeFilippo, Esq.
                                             James N. Lawlor, Esq.
                                             Joseph F. Pacelli, Esq. (admitted pro hac vice)
                                             500 Fifth Avenue
                                             New York, New York 10110
                                             Telephone: (212) 382-3300
                                             Facsimile: (212) 382-0050
                                             pdefilippo@wmd-law.com
                                             jlawlor@wmd-law.com
                                             jpacelli@wmd-law.com

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                                           -5-
 NAI-1536716052
